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DEC 05 2005 N\:l /
Il"~l THE UNITE]) STATES DISTRICT CO`URT
FOR THE NORTHERN I)ISTRICT OF ILLINOIS M|cHAEL W_ panama

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JiMMY MoRALEs, Jn., )
Plaintirr, )
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) (.Iudge )
cITY oF cntcAco, chicago relies officers )
Corey Flagg (Star No. 9386), Broderick Jones )
(siar No. 17432), R. Palomam (siar Na. 13473), ) ' --- . t `
J. Knezevieh (star No. 13165) ana E. radius ) JUDGE JOHN W DARRAH
(Star No. 8158), ) _
nerendants. ) MAG|STRATE JUDoE/Mssoia

COMP`LAINT

Plaintiff, JIMMY MORALES, JR., through his attorneys, ERICKS()N &
OPPENI‘IEIMER, complains of Defendants, CITY ()F CHICAG() and CHICAGO
POLICE OFFICERS COREY FLAGG (Star No. 9386), BRODER]CK JONES (Star No.
17432), R. PAL()MIND (Star No. 18473), J. KNEZEVICH (Star No. 13165) and E.
PAIJILLA (Star No. 8158), as follows:

INTR()DUCTION

l. This action is brought under 42 U.S.C. § 1983 to redress the deprivation under
color of law of Plaintiff’ s rights as secured by the United States Constitution. Plaintifl`
seeks damages stemming from his nnlawl`ull arrest by CDREY FLAGG (Star No. 9386)
BRODERICK JONES (Star No. 17432), R. PALOM]NO (Star ll’~lo. 18473), J.
KNEZEVICH (Star No. 13165) and E. PAD]LI_JA (Star No. 8158).

.`|URISDICTION AN]) VENUE
2. This Court has jurisdiction of the action under 28 U.S.C. § 1331. Venu.e is
proper as Plaintiff is resident of this judicial district and Det`ends.nt, City of Chicago, is a
municipal corporation located here. Further, the events giving rise to the claims asserted
here all occurred Within this district

3. Plaintit’t` is a 25 year old resident who lives in Chicago, lllinois.

4. On August 8, 2005, Plaintil’l` at all times remained at his step-father’s house at
3121 W. Ainsle, Chicago.

 

 

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5. On August 8, 2003, Defendants Flagg and Jones conspired among themselves
and fabricated inlbmation and evidence wherein they claimed that they had observed
Plaintiff engage in a suspect narcotic transaction at, 83 54 S. Muskegon Avenuc, Chicago,
Illinois at 4:00 p.m.

6. Defendants Flagg and Jones further conspired among themselves and claimed
that as they approached Plaintifl`, Plaintiff dropped to the ground a bag of suspect
cannabis and made good his escape.

7. Defendants Flagg and Jones claimed to have recovered from Plaintit`l"`s
bedroom nine (9) plastic baggies containing a green leafy substance suspect cannabis and
six (6) ‘tirearms.

8. Dei"endants Flagg and J ones then relayed this false intbrmation to De‘fendants
Palomino, Knezevic'n and Padilla.

9. On August l l, 2003 Defendants l-"*alornino,l Knezevich and Padilla, armed with
this false information arrested Plaintiff.

10. On August l 1, 2003 Defendants Flagg and Jones conspired among
themselves and caused Plaintiff to be charged with a criminal offense Defendants Flagg
and J ones conspired among themselves and fabricated the evidence on which the arrest
was made and did not have a lawful basis on which to cause Plaintiff’ s arrest

1]. Thereafter, defendants Flagg and J ones conspired among themselves
concealed Plaintiff’s innocence of any criminal wrongdoing from the prosecutors and
thereby caused Pl.aintiff to be held in custody for 4 months awaiting trial.

12. Thereafter, defendants Palomino_, Knezevich and Padilla conspired mong
themselves and concealed Plsintiff's innocence of any criminal wrongdoing from the
prosecutors and thereby caused Plaintiff to be held in custody for 4 months awaiting trial.

13. (`)n April 7, 2005, all proceedings were terminated in Plainti‘f"l" s favor in a
marmer indicative of innocence

COUNT l
42 U.S.C. § 1983: FALSE ARREST/UNLAWFUL DETENTION
14. Each Paragraph of this Complaint is incorporated as if restated herein.

15. As described above, Dcfendant Oi‘ficers conspired among themselves and
falsely arrested and detained Plaintiff without justification and without probable cause.

16. The misconduct described in this Count was undertaken with malice_.
willfulness, and reckless indifference to the rights of others.

 

 

 

 

 

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17. As a result of the above-described wrongful infringement of Plaintiffs rights,
Plaintiff suffered damages, including but not limited to mental distress and anguish.

18. The misconduct described in this Count was undertaken under the policy and
practice of the Chicago Police Department in that:

a. As a matter of both policy and practice, the Chicago Police Depa.rtment directly
encourages, and is thereby the moving force behind, the very type of misconduct at issue
here by failing to adequately train, supervise and control its officers, such that its failure
to do so manifests deliberate indifference;

b. As a matter of both policy and practice, the Chicago Police Department
facilitates the very type of misconduct at issue here by failing to adequately punish and
discipline prior instances of similar misconduct_, thereby leading Chicago Police OHicers
to believe their actions will never be scrutinized and_, in that way, directly encouraging
future abuses such as those affecting Plaintif`t`; specifically, Chicago Police Officers
accused of misconduct can be confident that the Ofi°ice of Prof`essional Standards will not
investigate those accusations in earnest and will reliise to recommend discipline even
where the Officer has engaged in misconduct

cr Generally, as a matter of widespread practice so prevalent as to comprise a
municipal policy, officers of the Chicago Police Departtnent abuse citizens in a manner
similar to that alleged by Plaintit`f in this Count on a detriment basis, yet the Chicago
Police Department makes findings of wrongdoing in a disproportionately small number
of cases;

d. Municipal policy-makers are aware of , and condone and facilitate by their
inaction, a “code of silence” in the Chicago Police Department, by which officers fail to
report nusconduct committed by other otiicers, such as the misconduct at issue in this
case;

e. The City of Chicago has failed to act to remedy the patterns of abuse described
in the preceding sub~paragraphs, despite actual knowledge of the same, thereby causing
the types of injuries alleged here;

f. As a matter of express policy, the City of Chicago does not retain records which
are more than five years old documenting allegations of misconduct against police
officers, thereby preventing the City from ascertaining any patterns of abuse which might
develop over the course of a police officer’s career;

g. As a matter of express policy, the City of Chicago refuses to take into
consideration patterns of allegations of civil rights violations when evaluating the merits
of any particular complaint tn other words, if a police officer is accused of the same sort
of misconduct twenty times in a row, the Ot`lice of Professional Standards (“U.F.S.”) is
forbidden by the City from considering those allegations if they are deemed unsustained;
and

h. 'l`he problem with the policy identified in the preceding paragraph is that by its
own accounting, the Ciry sustains less than 5% ol` the complaints brought against police
officers for violations of civil rights.

19. As a result of this misconduct, Mr. Morales suffered physical and emotional
injuries, lost wages, and other damages

 

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CDUNT II
State Law Claim: False Impri sonment

20. Each paragraph of this Complaint is incorporated as if restated fully herein.

21. Plaintif.`f Was arrested and imprisoned, and thereby had his liberty to move
about unlawfully restrai.ncd, despite Defendant Officers` knowledge that there was no
probable cause for doing so.

22. Defendant Officers’ actions set forth above were undertaken intentionally,
with malice and reckless indifference to Plaintiff' s rights.

23. As a result of the above described wrongful infringement of plaintiff s rights,
Plaintiff suffered damages, including but not limited to mental distress and anguish.

24. rl`he misconduct described in this Count Was undertaken by the defendant
(`)fficers and within the scope of their employment such that their employer, CITY OF
CHICAGO, is liable for their actions.

COUNT III
State Law Claim: Malicious Prosecution

25. Each paragraph of this Complaint is incorporated as if restated fully herein.

26. Plaintif`l" was improperly subjected tojudicial proceedings for which there
was no probable cause. These judicial proceedings were instituted and continued
maliciously, resulting in injury, and all such proceedings were terminated in Plaintiff’s
favor in a manner indicative of innocence

27. Defendant ()fficers conspired among themselves and accused Plaintiff of
criminal activity knowing those accusations to be without probable case, and they made
written and other statements with the intent of exerting influence to institute and condone
judicial proceedings

28. Statements of the Defendant foiccrs regarding PlaintiH’ s alleged culpability
were made with knowledge that the statements were false and perjured In so doing, the
.Defendant foicers fabricated evidence and withheld exculpatory infonnation.

29. The misconduct described in the Count was undertaken with malicc,
williiilness, and reckless indifference to the rights of others

 

 

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30. As a result of the above described wrongful infringements of Plaintiff’ s
rights, he has suffered financial and other damages, including but not limited to
substantial mental stress and anguish.

31. The misconduct described in this count was undertaken by the Defendant
tf]t`f`icers within the scope of their employment such that their employer_, CITY OF
CH`ICAG{)_. is liable for their actions.

COUN'I' IV
42 U.S.C. § 1983: Conspiracy to Deprive t?onstitutional flights

32. Each oi` the Paragraphs of this Complaint is incorporated as if` restated fully
herein.

33. The Defendants reach an agreement amongst themselves to frame Plaintiff
for the crirne, and to thereby deprive PlaintiH` of his constitutional rights, all as described
in the various Paragraphs of this Complaint.

34. lndcpendently, before and after Plaintiff"s arrest and incarceration., each of
the Defendants further conspired to deprive Plaintif`f of exculpatory materials to which he
was lawfully entitled and which would have led to is more timely exoneration of the false
charges as described in the various Paragraphs of this Complaint.

35. ln this manner, the l)efendant ()ff`icers, acting in concert, have conspired by
concerted action to accomplish an unlawnil propose by an unlawful means.

36. l_u furtherance of the conspiracy, each of the co-conspirators committed overt
acts and was an otherwise willful participant in joint activity.

37. The misconduct described in this Count was undertaken with malice,
willfulness and reckless indifference to the rights of others

38. The misconduct described in this Count was undertaken pursuant to the policy
and practice of the Chicago Police Department in the manner described more fully in
preceding paragraphs, and was tacitly ratified by policy-makers for the City of Chicago
with final policymaking authority.

 

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CDUNT V
State Law Claim: Respondeat Superior

32. Each paragraph of this Complaint is incorporated as if restated fully herein~

33t In committing the acts alleged in the preceding paragraphs, Defcndant
0ff`1cers were members of, and agents of, The (Jhicago Police Department, acting at all
relevant times with the scope of their employment

34. Defendant City of Chicago is liable as the principal for all torts committed by
its agents

CDUNT Vl
State Law Clairn: Indemnification

35. Each paragraph of this Complaint is incorporated as if restated fully herein

36. ln Illinois, public entities are directed to pay any tort judgment for
compensatory damages for which employees are liable with the scope of their
employment activities. 735 thS .lUf9-102.

37. Defendant Officers are or were employees of the City of Chicago, and acted
within the scope of their employment in committing the misconduct described herein.

Request for Relief
Flaintiff, Ji.mrny Morales, lr., respectfully requests that the Court:

A. enters judgment in his favor and against Defendants, CI'I`Y OF CHICAGO_, FLAGG,
JONES, PALOMINO, KNEZEV.ICI-l and PADILLA;

B. award compensatory damages against Defendants, CITY OF CHICAGO, FLAGG,
JONES, PAL()MINO, KNEZEVICH and PADILLA;

C. award attorney`s fees against Defendants, Cl'l`Y 017 CHICAGO, FLAGG, JONES,
PALOMINO, KNEZEVICH and PADILLA;

D. award punitive damages against Defendants, FLAGG, .TONES, PAL()MINO,
KNEZEVICI'I and PADlLL_/'t_;

E. grant any other relief as this Court deems just and appropriate.

Jury Demand

Plaintiff_, .limmy Morales, Jr., demands a trial by jury under Federal Rule of Civil
Procedure 38(b) on all issues so triable.

 

 

 

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